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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.          CV 21-8698 FMO (RAOx)                               Date     August 12, 2024
 Title             Jasmine Williams, et al. v. City of Beverly Hills, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                           None
                Deputy Clerk                   Court Reporter / Recorder                Tape No.
            Attorney Present for Plaintiffs:                  Attorney Present for Defendants:
                      None Present                                      None Present
 Proceedings:              (In Chambers) Order to Show Cause Re: Consolidation


      Having reviewed the dockets in Williams, et al. v. City of Beverly Hills, et al., CV 21-8698
FMO (RAOx) (“Williams”) and Ian Greene, et al. v. City of Beverly Hills, et al., 24-5916 FMO (ASx)
(“Greene”), and in light of the Court’s Order of August 5, 2024, transferring Greene to the
undersigned as a related case to Williams, IT IS ORDERED THAT:

        1. No later than August 19, 2024, each separately-represented party shall file a
Memorandum Re: Consolidation (“Memorandum”), no longer than ten pages in length, addressing
(1) the extent to which there are similar factual and/or legal issues in the above cases, and (2)
whether or not the cases should be consolidated pursuant to Rule 42(a) of the Federal Rules of
Civil Procedure.

        2. If the parties agree that the cases should be consolidated, they shall file a stipulation in
lieu of a Memorandum no later than August 16, 2024.




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                                                         Initials of Preparer           vdr




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